Case 1:18-cr-00602-JMF Document 58-3 Filed 12/19/19 Page 1 of 7




         HEARING WITH MICHAEL COHEN, FORMER
         ATTORNEY TO PRESIDENT DONALD TRUMP



                               HEARING
                                   BEFORE THE


                    COMMITTEE ON
                OVERSIGHT AND REFORM
              HOUSE OF REPRESENTATIVES
                    ONE HUNDRED SIXTEENTH CONGRESS
                                  FIRST SESSION


                               FEBRUARY 27, 2019



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Case 1:18-cr-00602-JMF Document 58-3 Filed 12/19/19 Page 2 of 7




                                     25

     you working for him for 10 days, maybe 10 weeks, maybe even 10
     months, but you worked for him for 10 years.
        Mr. Cohen, how long did you work in the White House?
        Mr. COHEN. I never worked in the White House.
        Mr. JORDAN. And that’s the point, isn’t it, Mr. Cohen?
        Mr. COHEN. No, sir.
        Mr. JORDAN. Yes, it is.
        Mr. COHEN. No, it is not, sir.
        Mr. JORDAN. You wanted to work in the White House——
        Mr. COHEN. No, sir.
        Mr. JORDAN [continuing]. and you didn’t get brought to the
     dance. And now——
        Mr. COHEN. Sir, I was extremely proud to be personal attorney
     to the President of the United States of America. I did not want
     to go to the White House. I was offered jobs. I can tell you a story
     of Mr. Trump reaming out Reince Priebus because I had not taken
     a job where Mr. Trump wanted me to, which is working with Don
     McGahn at the White House General Counsel’s Office.
        Mr. JORDAN. Mr. Cohen, you worked for the President for——
        Mr. COHEN. Sir, one second. All right. What I said at the time,
     and I brought a lawyer in who produced a memo as to why I should
     not go in, because there would be no attorney-client privilege.
        Mr. JORDAN. Mr. Cohen——
        Mr. COHEN. And in order to handle some of the matters that I
     talked about in my opening, that it would be best suited for me not
     to go in and that every President had a personal attorney.
        Mr. JORDAN. Mr. Cohen, here’s what I see, here’s what I see. I
     see a guy who worked for 10 years and is here trashing the guy
     he worked for for 10 years, didn’t get a job in the White House, and
     now—and now you are behaving just like everyone else who’s got
     fired or didn’t get the job they wanted, like Andy McCabe, like
     James Comey, same kind of selfish motivation after you don’t get
     the thing you want. That’s what I see here today, and I think that’s
     what the American people see.
        Mr. COHEN. Mr. Jordan, all I wanted was what I got, to be per-
     sonal attorney to the President, to enjoy the senior year of my son
     in high school and waiting for my daughter who is graduating from
     college to come back to New York. I got exactly what I want.
        Chairman CUMMINGS. The gentleman’s time has expired.
        Mr. JORDAN. Exactly what you want?
        Mr. COHEN. What I wanted. That’s right.
        Mr. JORDAN. You are going to prison.
        Mr. COHEN. I received exactly what I wanted.
        Chairman CUMMINGS. The gentleman’s time has expired.
        Ms. Wasserman Schultz.
        Ms. WASSERMAN SCHULTZ. Thank you, Mr. Chairman.
        Mr. Cohen, thank you for being here today.
        As you likely know, I served as the chair of the Democratic Na-
     tional Committee at the time of the Russian hacks and when Rus-
     sia weaponized the messages that it had stolen.
        But I want to be clear my questions are not about the harm done
     to any individual by WikiLeaks and the Russians, it is about the
     possible and likely harm to the United States of America and our
Case 1:18-cr-00602-JMF Document 58-3 Filed 12/19/19 Page 3 of 7




                                       57

        Mr. CLOUD. Couple months from now.
        Mr. COHEN. That’s the day that I need to surrender——
        Mr. CLOUD. Yes, sir, it is.
        Mr. COHEN [continuing]. to Federal prison.
        Mr. CLOUD. Could you, for the record, state what you’ve been
     convicted of.
        Mr. COHEN. I’ve been convicted on five counts of tax evasion.
     There’s one count of misrepresentation of documents to a bank.
     There’s two counts—one dealing with campaign finance for Karen
     McDougal; one count of campaign finance violation for Stormy Dan-
     iels, as well as lying to Congress.
        Mr. CLOUD. Thank you. Can you state what your official title
     with the campaign was?
        Mr. COHEN. I did not have a campaign title.
        Mr. CLOUD. And your position in the Trump administration?
        Mr. COHEN. I did not have one.
        Mr. CLOUD. OK. In today’s testimony, you said that you were not
     looking to work in the White House. The Southern District of New
     York, in their statement, their sentencing memo, says this:
     ‘‘Cohen’s criminal violations in the Federal election laws were also
     stirred, like other crimes, by his own ambition and greed. Cohen
     privately told friends, colleagues, and including seized text mes-
     sages, that he expected to be given a prominent role in the new ad-
     ministration. When that did not materialize, Cohen found a way to
     monetize his relationship and access with the President.’’ So were
     they lying, or were you lying today?
        Mr. COHEN. I’m not saying it’s a lie. I’m just saying it’s not accu-
     rate. I did not want to go to the White House. I retained—and I
     brought an attorney and I sat with Mr. Trump, with him, for well
     over an hour explaining the importance of having a personal attor-
     ney. And every President has had one, in order to handle matters
     like the matters I was dealing with, which included, like Summer
     Zervos——
        Mr. CLOUD. I reclaim my time.
        Mr. COHEN [continuing]. Stormy Daniels, dealing with Stephanie
     Clifford——
        Mr. CLOUD. I ask unanimous consent to——
        Mr. COHEN [continuing]. and other personal matters that need-
     ed——
        Mr. CLOUD. Excuse me. This is my time. Thank you.
        I ask unanimous consent to submit to this memo from the South-
     ern District of New York, New York for the record.
        Chairman CUMMINGS. Without objection, so ordered.
Case 1:18-cr-00602-JMF Document 58-3 Filed 12/19/19 Page 4 of 7




                                     101

     that he wanted you to lie. One of the reasons you knew this is, be-
     cause, quote, ‘‘Mr. Trump’s personal lawyers reviewed and edited
     my statement to Congress about the timing of the Moscow tower
     negotiations before I gave it.’’ So this is a pretty breathtaking
     claim, and I just want to get to the facts here. Which specific law-
     yers reviewed and edited your statement to Congress on the Mos-
     cow tower negotiations, and did they make any changes to your
     statement?
        Mr. COHEN. There were changes made, additions. Jay Sekulow,
     for one——
        Mr. RASKIN. Were there changes about the timing? The ques-
     tion——
        Chairman CUMMINGS. The gentleman’s time has expired.
        You may answer that question.
        Mr. COHEN. There were—there were several changes that were
     made, including how we were going to handle that message. Which
     was——
        Chairman CUMMINGS. Mr. Groth — were you finished?
        Mr. COHEN. Yes. The message, of course, being the length of time
     that the Trump Tower Moscow project stayed and remained alive.
        Mr. RASKIN. That was one of the changes?
        Mr. COHEN. Yes.
        Chairman CUMMINGS. Mr. Grothman?
        Mr. GROTHMAN. Yes, first of all, I’d like to clear up something,
     just a little something that bothers me. You started off your testi-
     mony, and you said, I think in response to some question, that
     President Trump never expected to win. I just want to clarify that
     I dealt with several—President Trump several times as he was try-
     ing to get Wisconsin. He was always confident. He was working
     very hard, and this idea that somehow he was just running to raise
     his profile for some future adventure, at least in my experience, is
     preposterous. I always find it offensive when anti-Trump people
     imply that he just did this on a lark and didn’t expect to win.
        But be that as it may, my first question concerns your relation-
     ship with the court. Do you expect—I mean, right now, I think
     you’re sentenced to 3 years, correct?
        Mr. COHEN. That’s correct.
        Mr. GROTHMAN. Do you expect any time, using this testimony,
     other testimony, after you get done doing whatever you’re going to
     do this week, do you ever expect to go back and ask for any sort
     of reduction in sentence?
        Mr. COHEN. Yes. There are ongoing investigations currently
     being conducted that have nothing to do with this committee or
     Congress, that I am assisting in, and it is for the benefit of a Rule
     35 motion, yes.
        Mr. GROTHMAN. So you expect, and perhaps what you testify
     here today will affect going back and reducing this, what we think
     is a relatively light, three-year sentence? You expect to go back and
     ask for a further reduction?
        Mr. COHEN. Based off of my appearance here today?
        Mr. GROTHMAN. Well, based upon whatever you do between now
     and your request for——
        Mr. COHEN. The Rule 35 motion is in the complete hands of the
     Southern District of New York. And the way the Rule 35 motion
Case 1:18-cr-00602-JMF Document 58-3 Filed 12/19/19 Page 5 of 7




                                     102

     works is, what you’re supposed to do, is provide them with informa-
     tion that leads to ongoing investigations. I am currently working
     with them right now on several other issues of investigation that
     concerns them, that they’re looking at. If those investigations be-
     come fruitful, then there is a possibility for a Rule 35 motion. And
     I don’t know what the benefit in terms of time would be, but this
     congressional hearing today is not going to be the basis of a Rule
     35 motion. I wish it was, but it’s not.
         Mr. GROTHMAN. I’d like to yield some time to Congressman Jor-
     dan.
         Mr. JORDAN. I yield to the gentleman from North Carolina.
         Mr. MEADOWS. Mr. Cohen, I’m going to come back to the question
     I asked before, with regards to your false statement that you sub-
     mitted to Congress. On here, it was very clear, that it asked for
     contracts with foreign entities over the last two years. Have you
     had any foreign contract with foreign entities, whether it’s Novartis
     or the Korean airline or Kazakhstan BTA Bank? Your testimony
     earlier said that you had contracts with them. In fact, you went
     into detail——
         Mr. COHEN. I believe it talks about lobbying. I did no lobbying.
     On top of that they are not government——
         Mr. MEADOWS. In your testimony — I’m not asking about lob-
     bying, Mr. Cohen.
         Mr. COHEN. They are not government agencies. They are pri-
     vately and——
         Mr. MEADOWS. Do you have—do you have foreign contracts——
         Mr. COHEN [continuing]. publicly traded companies.
         Mr. MEADOWS. Do you have foreign contracts?
         Mr. COHEN. I currently have no foreign contracts.
         Mr. MEADOWS. Did you have foreign contracts over the last two
     years?
         Mr. COHEN. Foreign contracts?
         Mr. MEADOWS. Contracts with foreign entities, did you have con-
     tracts?
         Mr. COHEN. Yes.
         Mr. MEADOWS. Yes?
         Mr. COHEN. Yes.
         Mr. MEADOWS. Why didn’t you put them on the form? It says it’s
     a criminal offense to not put them on this form for the last two
     years. Why did you not do that?
         Mr. COHEN. Because those foreign companies that you’re refer-
     ring to are not government companies.
         Mr. MEADOWS. It says nongovernmental, Mr. Cohen. You signed
     it.
         Mr. COHEN. They’re talking about me as being nongovernmental.
         Mr. MEADOWS. And right. It says foreign agency—It says foreign
     contracts. Do you want us to read it to you?
         Mr. COHEN. I read it and it was reviewed by my counsel, and I
     am a nongovernment employee. It was not lobbying, and they are
     not foreign contracts.
         Mr. MEADOWS. It has nothing to do with lobbying. It says it’s a
     criminal offense to not list all your foreign contracts. That’s what
     it says.
Case 1:18-cr-00602-JMF Document 58-3 Filed 12/19/19 Page 6 of 7




                                      126

        Mr. HIGGINS. Mr. Chairman, I ask that our primary hearing to
     introduce the Oversight Committee, the 116th Congress, to the
     American people, has manifested in the way that it obviously is.
     This is an attempt to injure our President, lay some sort of soft cor-
     nerstone for future impeachment proceedings. This is the full in-
     tent of the majority.
        I yield my remaining 30 seconds to the ranking member.
        Mr. JORDAN. Mr. Cohen, earlier you said the United States
     Southern District of New York is not accurate in that statement.
        Mr. COHEN. I’m sorry. Say that again.
        Mr. JORDAN. Earlier you said that the United States Southern
     District of New York Attorney’s Office, that statement is not accu-
     rate. You said it’s not a lie. You said it’s not accurate. Do you stand
     by that?
        Mr. COHEN. Yes, I did not want a role in the new administration.
        Mr. JORDAN. So the court’s wrong?
        Mr. COHEN. Sir, can I finish, please?
        Mr. JORDAN. Sure.
        Mr. COHEN. I got exactly the role that I wanted. There is no
     shame in being personal attorney to the President. I got exactly
     what I wanted. I asked Mr. Trump for that job, and he gave it to
     me.
        Mr. JORDAN. All I’m asking, if I could—and I appreciate it, Mr.
     Chairman — you’re saying that statement from the Southern Dis-
     trict of New York attorneys is wrong.
        Mr. COHEN. I’m saying I didn’t write it, and it’s not accurate.
        Mr. JORDAN. All right. Thank you.
        Chairman CUMMINGS. Mr. Welch.
        Mr. WELCH. Thank you.
        One of the most significant events in the last Presidential cam-
     paign, of course, was the dump of emails stolen from the Demo-
     cratic National Committee, dumped by WikiLeaks.
        Mr. Cohen, during your opening statement, which was at the
     height of the election, you testified you were actually meeting with
     Donald Trump in July 2016 when Roger Stone happened to call
     and tell Mr. Trump that he had just spoken to Julian Assange. Is
     that correct?
        Mr. COHEN. That is correct.
        Mr. WELCH. All right. And you said that Mr. Assange told Mr.
     Trump about an upcoming—quoting your opening statement—
     quote, ‘‘massive dump of emails that would damage Hillary Clin-
     ton’s campaign.’’
        So I want to ask you about Roger Stone’s phone call to the Presi-
     dent.
        First of all, was that on Speakerphone? Is that what you indi-
     cated?
        Mr. COHEN. Yes. So Mr. Trump has a black Speakerphone that
     sits on his desk. He uses it quite often because with all the number
     of phone calls he gets.
        Mr. WELCH. All right. Now, in January of this year, 2019, the
     New York Times asked President Trump if he ever spoke to Roger
     Stone about these stolen emails, and President Trump answered,
     and I quote, ‘‘No, I didn’t. I never did.’’
        Was that statement by President Trump true?
Case 1:18-cr-00602-JMF Document 58-3 Filed 12/19/19 Page 7 of 7




                                     145

        The chairman suggested you volunteered to come here. You testi-
     fied that you were asked to come here. Is it correct you were asked
     to come here, yes or no?
        Mr. COHEN. Yes.
        Mr. ROY. The combined total of the crimes for which you were
     sentenced would bring a maximum of 70 years, yes or no?
        Mr. COHEN. Yes.
        Mr. ROY. Yet you are going to prison for three years, yes or no?
        Mr. COHEN. Yes.
        Mr. ROY. The prosecutors of the Southern District of New York
     say: To secure loans, Cohen falsely understated the amount of debt
     he was carrying and omitted information from his personal finan-
     cial statements to induce a bank to lend on incomplete information.
     You told my colleague here today that you did not committee bank
     fraud.
        Not parsing different statutes, which I understand could be only
     for clarify, are you or are you not guilty of making false statements
     to a financial institution, yes or no?
        Mr. COHEN. Yes, I pled guilty.
        Mr. ROY. You said clearly to Mr. Cloud and Mr. Jordan that the
     Southern District of New York lawyers were being untruthful in
     characterizing your desire to work in the administration. Do you
     say again that the lawyers of the Southern District of New York
     are being untruthful in making that characterization, yes or no?
        Mr. COHEN. I’m saying that’s not accurate.
        Mr. ROY. OK. So you’re saying they’re being untruthful.
        Mr. COHEN. I’m not using the word untruthful, that’s yours. I’m
     saying that that’s not accurate. I did not want a role or a title in
     the administration.
        Mr. ROY. I’m sure the lawyers——
        Mr. COHEN. I got the title that I wanted.
        Mr. ROY. I’m sure the lawyers at the SDNY appreciate that dis-
     tinction.
        Question, you testified today you have never been to Prague and
     have never been to the Czech Republic. Do you stand behind that
     statement?
        Mr. COHEN. Yes, I do.
        Mr. ROY. I offer into the record an article in known conservative
     news magazine Mother Jones by David Corn in which he says he
     reviewed his notes from a phone call with Mr. Cohen, and Mr.
     Cohen said, quote, ‘‘I haven’t been to Prague in 14 years. I was in
     Prague for one afternoon 14 years ago,’’ end quote.
        Question, you, as my friend Mr. Armstrong rightly inquired, of-
     fered to the committee taped information involving clients with the
     bat of an eye. Do you stand behind that, yes or no?
        Mr. COHEN. I’m sorry, I don’t understand. You said it so fast.
        Mr. ROY. You, as my friend Mr. Armstrong rightly inquired, of-
     fered to this committee taped information involving your clients
     with the bat of an eye. Do you stand behind that offer?
        Mr. COHEN. If the chairman asks me, I’ll take it under advise-
     ment now, and it is not a problem in terms of attorney-client privi-
     lege, yes, I will turn it over.
        Mr. ROY. You, as my friend Mr. Meadows pointed out, misled
     this committee even today in a written submission that contra-
